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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 THE UNITED STATES OF AMERICA,

                       Plaintiff,
                                                     Civil Action No. 20-1580-RCL
 v.

 JOHN R. BOLTON,

                       Defendant.


                MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant John R. Bolton moves to

dismiss the complaint for failure to state a claim. Defendant’s combined memorandum in support

of this motion and in opposition to the Government’s motion for a temporary restraining order or

preliminary injunction is filed concurrently herewith.

June 18, 2020                                        Respectfully submitted,


                                                     /s/ Charles J. Cooper
                                                     Charles J. Cooper, Bar No. 248070
                                                     Michael W. Kirk, Bar No. 424648

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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 THE UNITED STATES OF AMERICA,

                       Plaintiff,
                                                     Civil Action No. 20-1580-RCL
 v.

 JOHN R. BOLTON,

                       Defendant.


      [PROPOSED] ORDER REGARDING DEFENDANT’S MOTION TO DISMISS
                    FOR FAILURE TO STATE A CLAIM

       Before this Court is Defendant’s motion to dismiss for failure to state a claim. Upon

consideration of the motion, the briefing in support and opposition to the motion, and all other

parts of the record, Defendant’s motion is GRANTED. A separate document entering final

judgment in favor of Defendant will issue forthwith. See FED. R. CIV. P. 58(a).



Dated:_______________                              ____________________________
                                                    HONORABLE ROYCE C. LAMBERTH
                                                    United States District Court Judge
